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     Attorney for Defendant
 5
     HUANCHANG MA
 6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                        ) No. 2:11-CR-166-MCE
 9
                                                      )
                                                      )
10          Plaintiff,                                )
                                                      ) APPLICATION AND ORDER
11
     v.                                               ) EXONERATING BOND
                                                      )
12
     HUANCHANG MA,                                    )
                                                      )
13
                                                      )
            Defendant.                                )
14
                                                      )
                                                      )
15
                                                      )
16

17          On May 7, 2015, defendant Huanchang Ma was sentenced and his case was closed.

18   Defendant previously posted a $75,000.00 appearance bond secured by a deed of trust.

19   Accordingly, the surety for the defendant’s bail bond is entitled to the release of the home's title,

20   and it is respectfully requested that this Court direct the Clerk of the Court to reconvey title

21   forthwith, and that the bond be exonerated.

22   DATED: October 19, 2015                        /s/ John R. Manning
                                                    Attorney for Defendant
23
                                                    Huanchang Ma
24

25   IT IS SO ORDERED.
26
     DATED: October 19, 2015.
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